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                       Exhibit 107
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                                                                               Page 1

    1            SUPERIOR COURT OF THE STATE OF CALIFORNIA
    2                  FOR THE COUNTY OF LOS ANGELES
    3
         COORDINATED PROCEEDING SPECIAL )
    4    TITLE (RULE 3.550)             )
                                        )
    5    LAOSD ASBESTOS CASES           )
         _______________________________)                        J.C.C.P. NO. 4674
    6                                   )
         TINA HERFORD AND DOUGLAS       )                        CASE NO.
    7    HERFORD,                       )                        BC646315
                                        )
    8                PLAINTIFFS,        )
                                        )
    9     vs.                           )
                                        )
  10     AT&T CORP., A SUBSIDIARY OF    )
         AT&T INC. AND ITS SUBSIDIARY   )
  11     PACIFIC BELL TELEPHONE COMPANY,)
         ET AL.,                        )
  12                                    )
                     DEFENDANTS.        )
  13     _______________________________)
  14
                   DEPOSITION OF MICKEY E. GUNTER, Ph.D.
  15
                      TAKEN ON BEHALF OF THE PLAINTIFFS
  16
              AT 875 PERIMETER DR., MCCLURE HALL, ROOM 203,
  17
                                     MOSCOW, IDAHO
  18
                       SEPTEMBER 8, 2017, AT 10:09 A.M.
  19
  20     REPORTED BY:
  21     MICHAEL S. KUPLACK
         CSR 744 (ID), CCR 2750 (WA)
  22     Notary Public
  23
  24
  25     Job No. 2689305

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    1                               A P P E A R A N C E S
    2
         FOR THE PLAINTIFFS:
    3         MOSHE MAIMON, ESQ. (telephonically)
              LEVY KONIGSBERG, LLP
    4         800 Third Avenue, 11th Floor
              New York, New York 10022
    5         212-605-6200
              mmaimon@levylaw.com
    6
    7    FOR DEFENDANT JOHNSON & JOHNSON:
              SHARLA J. FROST, ESQ. (telephonically)
    8         TUCKER ELLIS, LLP
              405 Main Street, Suite 500
    9         Houston, Texas 77002
              281.657.0730
  10          sharla.frost@tuckerellis.com
  11
         FOR DEFENDANTS IMERYS TALC AMERICA AND CYPRUS AMAX
  12     MINERALS COMPANY:
              BLAKELEY ORANBURG, ESQ. (telephonically)
  13          DENTONS US, LLP
              601 S. Figueroa Street, Ste. 2500
  14          Los Angeles, California 90017
              213.243.6103
  15          blakeley.oranburg@dentons.com
  16
         FOR DEFENDANTS SHULTON, INC.:
  17          AMY J. TALARICO, ESQ. (telephonically)
              MORGAN, LEWIS & BOCKIUS, LLP
  18          One Market, Spear Street Tower
              San Francisco, California 94105
  19          415.442.1227
              amy.talarico@morganlewis.com
  20
  21
  22
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    3    Examination by Mr. Maimon                                                     5
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    5    DEPOSITION EXHIBITS:                                                       PAGE
    6    1    Conference Paper, "Geology of the                                      41
              Italian high-quality cosmetic talc from the
    7         Pinerolo district (Western Alps)"
    8    2    Article, "Geology of the Fontane talc                                  51
              mineralization (Germanasca valley, Italian
   9          Western Alps); attachment
  10     3    Peretti article, "Geology and Genesis of                               53
              the Talc Deposits in the Pinerolese"
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         4      Grill article, "A contribution to the study                          59
  12            of the minerals in the Chissone Valley"
  13     5      Van Gosen, et al, article, "Using the                               111
                geological setting of talc deposits as an
  14            indicator of amphibole asbestos content"
  15     6      York article, "The Mineral History of                               118
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         7      Table 23, Chidester report, USGS                                    121
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         8      Engelhard Technical Service Request,                                124
  18            Johns-Manville 5/25/73 Report; Bates
                BASF-EMCC 00095 through 100
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         9      Document, 1957, "Vermont Mines and Mineral                          132
  20            Localities, Part I, Southern Vermont," by
                Morrill and Chaffee
  21
         10     USGS Mineral Resources On-Line Spatial Data, 137
  22            "Carleton quarry (Chester talc mine)(Record
                #710) occurrence of asbestos in Windsor
  23            cou...."
  24
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  25

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    1    DEPOSITION EXHIBITS (Contd.):                                              PAGE
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         11     Veblen and Burnham article, "New                                    138
    3           biopyriboles from Chester, Vermont:
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         12     Document, "Vermont Due Diligence: Product                           139
    5           Quality and Quality Control"; Bates
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                "Reading Talc Mine (MRDS #10081816) TLC"
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         15     Mindat.org document, "Reading Talc Mine,                            155
  10            Woodstock, Windsor Co., Vermont, USA"
  11     16     Mindat.org document, "Argonaut Mine                                 155
                (Argonaut Talc Mine), Ludlow, Windsor Co.,
  12            Vermont, USA"
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    1                  THE DEPOSITION OF MICKEY E. GUNTER, Ph.D.,
    2    was taken on behalf of the PLAINTIFFS, on SEPTEMBER 8,
    3    2017, at UNIVERSITY OF IDAHO, 875 PERIMETER DR.,
    4    MCCLURE HALL, ROOM 203, MOSCOW, IDAHO, before M & M
    5    Court Reporting Services, Inc., by MICHAEL S. KUPLACK,
    6    Court Reporter and Notary Public within and for the
    7    State of Idaho, to be used in an action pending in the
    8    Superior Court of the State of California, County of
    9    Los Angeles, said cause being Case No. BC646315 in said
  10     Court.
  11                    AND THEREUPON, the following testimony was
  12     adduced, to wit:
  13                          MICKEY E. GUNTER, Ph.D.,
  14     having been first duly sworn to tell the truth, the
  15     whole truth, and nothing but the truth, relating to
  16     said cause, deposes and says:
  17                                    EXAMINATION
  18     QUESTIONS BY MR. MAIMON:
  19          Q.    Good morning, Dr. Gunter.
  20          A.    Good morning, Moshe.
  21          Q.    My name is Moshe Maimon and I'm here to depose
  22     you in the Herford case on behalf of the plaintiff.
  23     It's my understanding that you've been retained as an
  24     expert in the Herford case.                Is that correct?
  25          A.    Yes, sir.

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    1         Q.    And by whom have you been retained?
    2         A.    Johnson & Johnson.
    3         Q.    This is a deposition that's taking place
    4    telephonically.          You're at the University of Idaho in
    5    Moscow, Idaho; is that correct?
    6         A.    Yes, sir.
    7         Q.    You're in McClure Hall, Room 203?
    8         A.    That's correct.
    9         Q.    And is anyone there with you aside from the
  10     court reporter?
  11          A.    No, sir.
  12          Q.    Are you being paid for your time today?
  13          A.    Yes, sir.
  14          Q.    At what rate?
  15          A.    $450 an hour.
  16          Q.    And is that payment going to go to you
  17     personally or does that go to your department at the
  18     university?
  19          A.    It goes to me personally.
  20          Q.    Is this considered a vacation day for you?
  21          A.    We don't get vacations.               I mean, I'm on a
  22     nine-month contract, and academics don't get vacations
  23     but we are allowed to do --
  24          Q.    (Inaudible.)
  25          A.    I'm sorry.

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    1         A.    Correct.       That's what she told me.
    2         Q.    And --
    3         A.    And Samples J --
    4         Q.    Do you know that --
    5         A.    Go ahead.
    6         Q.    Do you know that Dr. Blount actually wrote
    7    letters to both Luzenac and lawyers for Johnson &
    8    Johnson referencing this article and telling them that
    9    there was asbestos in Johnson & Johnson talcs?
  10                   DEFENDANTS' COUNSEL:              Objection.        Basis, no
  11     foundation.
  12          A.    I've not seen that.
  13          Q.    (BY MR. MAIMON)           The lawyers for Johnson &
  14     Johnson didn't give you the letter that Dr. Blount
  15     sent to their attorneys, telling them that, quote, "I
  16     believe that Johnson & Johnson Vermont talc contains
  17     trace amounts of asbestos"?
  18                   DEFENDANTS' COUNSEL:              Objection.        Form,
  19     foundation.
  20          A.    Again, I don't recall seeing that.
  21          Q.    (BY MR. MAIMON)           What she describes on
  22     page 228 of her article with regard to Sample I would
  23     be consistent with asbestos, correct?
  24          A.    Yes.     And samples --
  25          Q.    (Inaudible.)

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    1         A.    But samples -- Just for the record, samples J
    2    through M were also from Windsor Minerals.
    3         Q.    Yeah, you understand those to be the talc ore
    4    from Windsor Minerals, J through M?
    5         A.    That's what she told me.
    6         Q.    Okay.     And have you seen any documents from
    7    Johnson & Johnson which indicate where they -- you
    8    know, what they were from, what runs they were from
    9    and so forth?
  10          A.    No.
  11          Q.    Do you know which deposits among the Windsor
  12     mines samples J through M came from?
  13                   DEFENDANTS' COUNSEL:              Objection.
  14     Foundation, asked and answered.
  15          A.    Well, if it was '91 -- Well, again, it would
  16     have been before '91.             I read somewhere that only the
  17     Hammondsville and the Argonaut Mines were cosmetic
  18     purposes.      But it could have -- it could have been --
  19     This could have been Italy, also, but I don't know.                         I
  20     know what she told me.
  21          Q.    (BY MR. MAIMON)           Okay.      But you don't know,
  22     within the Windsor mines, which particular mine
  23     sourced samples J through M, correct?
  24          A.    Correct.
  25          Q.    Okay.     And so it's true, is it not, that this

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    1     is a published article which shows asbestos in
    2     Johnson & Johnson talc products?
    3                   DEFENDANTS' COUNSEL:              Objection.        Form.
    4          A.    In that one particular sample.
    5          Q.    (BY MR. MAIMON)           Yes?
    6          A.    Yes.
    7                   DEFENDANTS' COUNSEL:              Same objection.
    8          A.    In that one --
    9          Q.    (BY MR. MAIMON)           Okay.      You also mentioned
   10     earlier, one of the first things, that you have
   11     Dr. Longo's report in this matter, correct?
   12          A.    Yes.
   13          Q.    And I'd like to know, similar to the questions
   14     that I asked you about Dr. Compton's report, do you
   15     have any criticism of the methodology that Dr. Longo
   16     utilized as described in his expert report?
   17          A.    Yes.
   18          Q.    Can you tell me what your criticisms are?
   19          A.    The main one is that he used -- did a heavy
   20     liquid separation and he used a density of 2.85; and
   21     based upon that, he then said that no anthophyllite
   22     would appear in the heavy portion because iron-free
   23     anthophyllite would have a density similar to 2.85.                         I
   24     disagree with that and -- because the density that I
   25     calculated for an iron-free anthophyllite is 3.02 and

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    1     another anthophyllite sample I had was 3.08.                         So, my
    2     biggest criticism --
    3          Q.    What were those densities, 3.02 and 3.08?
    4          A.    Yes.
    5          Q.    Go ahead.
    6          A.    My biggest criticism would be his assumption
    7     that none of the anthophyllite would be in the heavy
    8     portion based on the densities in anthophyllite.                            And
    9     also he found -- He has talc, which has a lower
   10     density, in some of his data.
   11                    So, that would be the biggest -- sorry, the
   12     biggest criticism.
   13          Q.    Okay.     So, I'm talking about the -- maybe
   14     something different, and I'm sorry if you didn't
   15     understand.       The method that he used, I'm not talking
   16     about his interpretation of the results or his
   17     assumptions.        I understand that you have a -- that you
   18     disagree with his assumption that iron-free
   19     anthophyllite would have a density of 2.85 and
   20     therefore would not be revealed as present through
   21     this testing, correct?
   22          A.    Yes.
   23          Q.    Okay.     The testing that he says that he did is
   24     testing that would show tremolite, correct?
   25          A.    That's what he states, yes.

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    1          Q.    He bases this on the work of Dr. Blount,
    2     correct?
    3          A.    He bases the density separation, but then not
    4     the -- He uses an AHERA interpretation of a fiber and
    5     not Alice's interpretation of fibers and needles.                           So,
    6     he uses a different interpretation of what would be
    7     asbestos and what wouldn't be than Alice did.
    8          Q.    Okay.     So, he performed a specific analysis,
    9     correct?
   10          A.    Yes.
   11          Q.    And then he got data from that analysis and he
   12     interpreted it a certain way, correct?
   13          A.    Yes.
   14          Q.    And one of the interpretations that he made
   15     was his counting, the way he counted the fibers or
   16     particles that he included in his report, correct?
   17          A.    Yes.
   18          Q.    And then another interpretation that he made
   19     was the -- where -- or what the density would be for
   20     iron-free anthophyllite, correct?
   21          A.    Correct.
   22          Q.    And you disagree with both of those, correct?
   23          A.    They're wrong.
   24          Q.    The choice of the analysis, by separating the
   25     heavier particles by the high density, is that, in

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    1     your mind, an invalid methodology?
    2          A.    No.
    3          Q.    Okay.     You have a disagreement with Dr. Longo
    4     as to what the density would be for iron-free
    5     anthophyllite, correct?
    6          A.    Correct.
    7          Q.    His identification of tremolite, do you take
    8     issue with that?
    9          A.    Some of these could be tremolite to tremolite
   10     slash actinolite based on the iron content, but
   11     nothing significant, no.
   12          Q.    Okay.     So, you don't take issue with his
   13     identification, mineralogical identification, of the
   14     tremolite, correct?
   15          A.    The tremolite and actinolite, correct.
   16          Q.    Okay.     I take it that you do take issue with
   17     his choice to count certain particles as asbestos,
   18     correct?
   19          A.    Well, again, he's saying he uses Blount's
   20     method, but then he doesn't use the same counting
   21     criteria she did.           And he's using the AHERA air method
   22     for his counting rules and not a bulk method, so....
   23          Q.    So, if you take a look, he describes using the
   24     Blount talc density heavy liquid preparation method,
   25     correct?

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    1          A.    Yes.
    2          Q.    And he did that, correct?
    3          A.    Yes.
    4          Q.    Dr. Blount counted -- based on aspect ratios
    5     and for greater than 15 to 1, she counted those as
    6     fibers, and you agreed that those showed asbestos,
    7     correct?
    8          A.    Not necessarily.           I mean, I have seen single
    9     particles of anthophyllite from the Vanderbilt
   10     deposit, and other places, that could have very high
   11     aspect ratios and not be -- not be from an asbestiform
   12     sample.
   13          Q.    I understand that you've done that in other
   14     circumstances, but you agreed with me that
   15     Dr. Blount's characterization of Sample I would be
   16     consistent with asbestos in the sample, correct?
   17          A.    It would be consistent with, again, the
   18     counting criteria and those sorts of things, yes.
   19          Q.    So, Dr. Longo, he used her method of sample
   20     preparation by heavy liquid, correct?
   21          A.    Correct.
   22          Q.    And do you have any criticism of how he did
   23     the preparation by the density heavy liquid method?
   24          A.    No.
   25          Q.    Okay.     He then identified by TEM the particles

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    1          Q.    (BY MR. MAIMON)           Dr. Gunter, are you still
    2     there?
    3          A.    No.    Yes, yes.
    4          Q.    I've got one more question, and hopefully it's
    5     only one.      Have you ever analyzed a sample of cosmetic
    6     talc and determined that it had asbestos in it?
    7          A.    No.
    8                   MR. MAIMON:         That's all I have.
    9                   (The deposition concluded at 3:14 p.m.)
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    1                            CERTIFICATE OF WITNESS
    2
    3          I, MICKEY E. GUNTER, Ph.D., being first duly
    4     sworn, depose and say:
    5          That I am the witness named in the foregoing
    6     deposition consisting of pages 1 through 169; that I
    7     have read said deposition and know the contents
    8     thereof; that the questions contained therein were
    9     propounded to me; and that the answers therein
   10     contained are true and correct except for any changes
   11     that I may have listed on the Change Sheet attached
   12     hereto.
   13          DATED this ____ day of __________, 2017.
   14
   15                                  _______________________________
   16                                           MICKEY E. GUNTER, Ph.D.
   17
   18          SUBSCRIBED AND SWORN to before me this ____
   19     day of ___________, 2017.
   20
   21                            ____________________________________
   22                            NAME OF NOTARY PUBLIC
   23                            NOTARY PUBLIC FOR __________________
   24                            RESIDING AT ________________________
   25                            MY COMMISSION EXPIRES ______________

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